Case 1:21-cv-00795-RLM              Document 22   Filed 10/13/21      Page 1 of 1 PageID #: 70


UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

MARCEL ROBINSON,                                        Docket No.: 21-cv-00795
On behalf of Plaintiff and similarly situated
individuals,

                       Plaintiff,                      JOINT STIPULATION AND ORDER
                                                       OF DISMISSAL WITH PREJUDICE
               -against-

BROOKLYN BAZAAR LLC, AARON BROUDO,
and BELVY KLEIN,

                       Defendants.


       IT IS HEREBY STIPULATED AND AGREED, by and between the parties, and ordered
by the Court, that:
       (a)     the Parties’ settlement of claims under the Fair Labor Standards Act is fair and
reasonable in accordance with Cheeks v. Freeport Pancake House, Inc., 796 F.3d 199 (2d Cir.
2015); and
       (b)     the above-captioned action and all causes of action that were or could have been
asserted therein, including any and all claims under the Fair Labor Standards Act, are dismissed
with prejudice pursuant to Rule 41(a)(2) of the Federal Rules of Civil Procedure and without costs,
disbursements or attorneys’ fees to any party.

 Dated: October 13 2021
        __________,                                              September 13 2021
                                                          Dated: _____________,

  AIDALA, BERTUNA, & KAMINS P.C.                           LITTLER MENDELSON, P.C.

  ________________________                                 _______________________
  By: Lawrence Spasojevich                                 By: Daniel Gomez-Sanchez

  546 5th Avenue, 6th Floor                                290 Broadhollow Road, Suite 305
  New York, NY 10036                                       Melville, New York 11747
  (212) 486-0011                                           (631) 247-4700

  Attorneys for Plaintiff                                  Attorneys for Defendants

 SO ORDERED:

 _____________________________________
 Hon. Roanne Mann




                                                              Doc ID: 58c0164cf06502d1ad22442811863ad87b2d0009
